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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:23-cr-00033-ADA-BAM

12                        Plaintiff,                STIPULATION TO MODIFY CONDITION OF
                                                    PRETRIAL RELEASE; ORDER
13    vs.

14
      JOSE ENRIQUE OROPEZA,
15
                          Defendant.
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17
18           IT IS HEREBY STIPULATED, by and between the parties, through their respective
19    counsel, Assistant United States Attorney Antonio Pataca, counsel for plaintiff, and Assistant
20    Federal Defender Reed Grantham, counsel for defendant Jose Enrique Oropeza, that Condition
21    (7)(m) of Mr. Oropeza’s pretrial release, initially imposed on March 31, 2023 (see Dkt. #16, 18),
22    be modified. Specifically, it is requested that the last sentence of Condition (7)(m), the location
23    monitoring (curfew) condition, be modified to state as follows:
24                   CURFEW: You are restricted to your residence every Monday
                     through Friday (or on any working day) from 11:00 p.m. to 6:00
25                   a.m., and every Saturday and Sunday from 9:00 p.m. to 6:00 a.m.
                     or as adjusted by the Pretrial Services office or supervising officer,
26
                     for medical, religious services, employment, or court-ordered
27                   obligations; and

28           Mr. Oropeza was released on conditions on March 31, 2023. See Dkt. #16, 18. One of the
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 1    conditions imposed, Condition (7)(m), required that Mr. Oropeza be subject to location

 2    monitoring at the curfew level, and that he be restricted to his residence between 9:00 p.m. and

 3    6:00 a.m. every day, unless adjusted by the Pretrial Services Officer. See Dkt. #18. Mr. Oropeza

 4    is currently employed full-time and his work schedule is 12:00 p.m. to 10:00 p.m. Monday

 5    through Friday. Following his release, Mr. Oropeza checked in with his Pretrial Services Officer

 6    in the Central District of California where he resides. Mr. Oropeza informed his Pretrial Services

 7    Officer of his work schedule and was advised by Pretrial Services to modify the time restrictions

 8    of his curfew in order to permit a later return time on the days he works.

 9              Accordingly, the parties hereby stipulate and agree to modify Condition (7)(m), the

10    location monitoring (curfew) condition, to accommodate Mr. Oropeza’s work schedule. Neither

11    Pretrial Services nor the government object to the above modification. All other terms and

12    conditions of Mr. Oropeza’s pretrial release, previously imposed, shall remain in full force and

13    effect.

14
                                                     Respectfully submitted,
15
                                                     PHILLIP A. TALBERT
16                                                   United States Attorney

17    Dated: April 4, 2023                           /s/ Antonio Pataca
                                                     ANTONIO PATACA
18                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
19
20                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
21
22    Date: April 4, 2023                            /s/ Reed Grantham
                                                     REED GRANTHAM
23                                                   Assistant Federal Defender
                                                     Attorney for Defendant
24                                                   JOSE ENRIQUE OROPEZA

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       Oropeza – Stipulation to Modify                 -2-
       Condition of Pretrial Release
     Case 1:23-cr-00033-NODJ-BAM Document 24 Filed 04/04/23 Page 3 of 3


 1                                                ORDER

 2             IT IS SO ORDERED. Condition (7)(m) of Mr. Oropeza’s pretrial release is hereby

 3    modified as set forth above with the authority given to the Pretrial Services officer to set the time

 4    based on defendant’s work schedule only. That time shall be set by the Pretrial Services officer

 5    and conveyed to the defendant before any times are changed. All other conditions previously

 6    imposed remain in full force and effect.

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 8    IT IS SO ORDERED.

 9    Dated:     April 4, 2023
10                                                       UNITED STATES MAGISTRATE JUDGE

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       Oropeza – Stipulation to Modify                 -3-
       Condition of Pretrial Release
